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lN THE uNiTED sTATEs olsTRlcT couRT men BW_¢-- °-°‘
FOR THE WEsTERN DisTRlcT oF TENNEssEE

 

WESTERN DlvlsloN 05 AUG 30 PH h= 59
uNiTED sTATES oF AMERicA CLEBWHHMM
Plaimifr
vs.
cR. No. 05-20122-0
BRENDA coLBERT
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Thursda)¢l September 22l 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor

of the Federai Building, Memphis, TN.

 

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

n is so oRDERED this 30“\day ofAugust, 2005.

 

n |TED STATES DISTR|CT JUDGE

Thts document entered on the docket sh
with Ftule 55 and!or 32(\:)) FFtCrP on

UNITD sATES DISTRIC COURT - ESTE DISITRCT OF TENNESSEE

   

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This notice confirms a copy of the document docketed as number 59 in
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Honorable Samuel Mays
US DISTRICT COURT

